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                                                September 21, 2018
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VIA CM/ECF & HAND DELIVERY (FILED UNDER SEAL)
REDACTED VERSION
The Honorable Richard G. Andrews
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 North King Street
Wilmington, Delaware 19801

         Re:      ChanBond, LLC v. Atl. Broadband Group, LLC, et al., Cons. C.A. No. 15-842-RGA

Dear Judge Andrews:

        Pursuant to the Court’s September 17, 2018 Oral Order (D.I. 312), ChanBond LLC provides
this response to Defendants’ September 19, 2018 letter.

        ChanBond notes that while Defendants stated that following the August 9, 2018 discovery
conference “counsel for ChanBond informed Defendants, for the first time, that certain documents
were being withheld not based on any ChanBond privilege, but rather, based on the alleged
privilege of third-party IP Navigation,” this issue was first raised by Defendants during a meet and
confer after the conference. This should have been anticipated by Defendants in light of the fact
that Defendants were aware that Deirdre Leane was a principal and/or executive of both IP Nav and
ChanBond. Defendants should have expected Ms. Leane to have documents for both IP Nav and
ChanBond.

         I.       IP Navigation Can Claim Work Product Privilege

        In order to claim work product privilege for a document, it must be determined if that
document was prepared in anticipation of litigation. The test employed by courts is whether “in
light of the nature of the document and the factual situation in the particular case, the document can
fairly be said to have been prepared or obtained because of the prospect of litigation.” United States
v. Rockwell Int’l, 897 F.2d 1255, 1266 (3rd Cir. 1990) (internal quotations and citation omitted).
Defendants argue that entries 481–483, 545, 794–795, 804–805, 824, 894–895, 899, 901, and 903
are not covered by the work product privilege because they were prepared solely for business
reasons. However, “work product protection cannot be decided simply by looking at one motive
that contributed to a document’s preparation. The circumstances surrounding the document’s
preparation must also be considered.” In re Grand Jury Subpoena (Torf), 357 F.3d 900, 908 (9th
Cir. 2004). While the documents may have had a business purpose, the nature of the documents
indicates that the primary purpose was clearly for litigation purposes. See Phillips Elecs. N. Am.
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Corp. v. Universal Elecs. Inc., 892 F.Supp. 108, 110 (3rd Cir. 1995); see also Acceleration Bay LLC
v. Activision Blizzard, Inc., C.A. No. 16-453, 2018 WL 798731, at *1 (D. Del. Feb. 9, 2018) (“A
document will be granted protection from disclosure if the court finds that the “primary” purpose
behind its creation was to aid in possible future litigation.”).

       II.     Entry 180 Is Protected Under Work Product Privilege

        Defendants argue that entry 180 is not protected because IP Nav did not provide legal advice
to ChanBond. However,                                                   who prepared the documents in
anticipation of litigation and this is clear from the nature of the documents. See Phillips, supra.

       III.    Entries 2, 3, 51, 266, 290, and 822 Are Protected Under Work Product Privilege

         Defendants’ argument that entries 2, 3, 51, 266, 290, and 822 are not protected fails for the
same reasons stated in Section I, supra. These documents were prepared in anticipation of
litigation.

       IV.     Entry 588 Is Protected Under Work Product Privilege

        Entry 588 is a draft patent prosecution document. When patent prosecution activities take
place concurrently with, or are in anticipation of, litigation, the work product privilege applies. See
In re Gabapentin Patent Litig., 214 F.R.D. 178, 186 (D.N.J. 2003) (“[D]ocuments pertaining to the
patent application process which were also prepared because of actual or anticipated litigation may
be protected by the work product doctrine.”) (internal quotations and citation omitted). ChanBond
acknowledges that the scope of the privilege is limited but asserts that here the document was
prepared in anticipation of litigation. See Hercules, Inc. v. Exxon Corp., 434 F. Supp. 136, 151–152
(D. Del. 1977) (“The scope of that privilege is still limited, however, by the requirement that the
document be prepared ‘with an eye toward litigation.’”). The privilege is established by the fact
that                                                                            (Ex. 1 of Defendants’
September 19, 2018 Letter to the Court, Entry 594.) Additionally, Defendants’ argument that
ChanBond cannot claim this as its privilege because it was prepared a few days before ChanBond
acquired the patents at issue takes an unrealistic view of the world. It is reasonable to say that prior
to the formality of signing the patent acquisition agreement that ChanBond would have begun to
prepare documents in anticipation of litigation.

      ChanBond respectfully requests that the Court deny Defendants’ request to produce the 29
documents.

                                      Respectfully submitted,

                                      /s/ Stephen B. Brauerman

                                      Stephen B. Brauerman (No. 4952)

cc:   All counsel
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